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              BEFORE THE UNITED STATES JUDICIAL PANEL ON
                       MULTIDISTRICT LITIGATION


IN RE: PROFEMUR HIP IMPLANT                      MDL NO. 2949
PRODUCT LIABILITY LITIGATION

                                                 NOTICE OF RELATED
                                                 ACTION



       Please take notice the following case is related to the Motion for Transfer of Actions

Pursuant to 28 U.S.C. § 1407 submitted to the JPML on May 18, 2020:

       Ann L. Olver v. Wright Medical Technology, Inc., 8:20-cv-01302, (CD Ca.)

       Copies of the Complaint and Docket Sheet are attached hereto.



       Dated: July 21, 2020                  Respectfully submitted,

                                             /s/ Raymond P. Boucher
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                                             Attorneys for Plaintiff Olver
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                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY THAT ON July 21, 2020, the foregoing Notice of Related Actions

was filed electronically with the Clerk of Court using the Court’s electronic filing system.

Notice of this filing will be sent to all counsel of record, by operation of the Court’s CM/ECF

system and a copy will be mailed by United States First Class Mail to the following entity

(counsel has not yet appeared):

                       Group Health Cooperative of South Central Wisconsin
                       1265 John Q. Hammons Drive
                       Madison, WI 53717
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